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13
                            UNITED STATES BANKRUPTCY COURT
14
                                      DISTRICT OF NEVADA
15
      In Re:                                        Case No. 19-50103-gs
16                                                  Chapter 7
      DORA ROG PROPERTIES, LLC,
17
                                                    Jointly Administered with:
      ☐AFFECTS THIS DEBTOR
18    ☐AFFECTS DOG BLUE PROPERTIES, LLC             19-50104-gs Dog Blue Properties, LLC
      ☐AFFECTS BRANDY BOY PROPERTIES,               19-50105-gs Brandy Boy Properties, LLC
19     LLC                                          19-50106-gs 475 Channel Road, LLC
      ☐AFFECTS 475 CHANNEL ROAD, LLC                19-50108-gs Park Road, LLC
20    ☐AFFECTS PARK ROAD, LLC                       19-50109-gs 140 Mason Circle, LLC
      ☐AFFECTS 140 MASON CIRCLE, LLC
21    ☒AFFECTS ALL DEBTORS.                            STIPULATION INCORPORATING
22                                                   SOLAR ECLIPSE FUND IX, LLC AS A
                                                     PARTY TO THE SETTLEMENT OF DC
23                                                          SOLAR ESTATES AND
                                                         FUNDS/INVESTORS’ CLAIMS
24                                                   AGAINST REAL PROPERTY DEBTOR
25                                                               ESTATES

26                                                  Hearing Date: May 5, 2022
                                                    Hearing Time: 3:00 pm
27

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 1          W. Donald Gieseke, Chapter 7 Trustee (the “Dora Dog Trustee”), for the jointly

 2   administered estates of Dora Dog Properties, LLC, Dog Blue Properties, LLC, Brandy Boy

 3   Properties, LLC, 475 Channel Road, LLC, Park Road, LLC and 140 Mason Circle, LLC

 4   (collectively, the “Real Property Debtor Estates”), Christina Lovato, Chapter 7 Trustee (“DC

 5   Solar Trustee”) for the substantively consolidated estates of Double Jump, Inc., DC Solar

 6   Solutions, Inc., DC Solar Distribution, Inc., and DC Solar Freedom, Inc. (collectively, the “DC

 7   Solar Estates”), and Solar Eclipse Fund IX, LLC (“Fund IX”), by and through their undersigned

 8   attorneys, hereby stipulate and agree as follows:

 9          1.      On January 29, 2020, Fund IX filed its original Proofs of Claim in each of the Real

10   Property Debtor Estates in an unliquidated and in certain instances partially liquidated amount.

11          2.      Fund IX did not amend its original Proofs of Claim filed in the Real Property

12   Debtor Estates’ cases pursuant to the Amended Notice of Deadline to File Amendments to Existing

13   and Timely Filed Proofs of Claim filed June 1, 2021 [ECF No. 476], and, thus, Fund IX was not

14   involved in the settlement conferences the Honorable Natalie M. Cox conducted between the Dora

15   Dog Trustee, the DC Solar Trustee, the Receivership Funds, the East West/ADHI Funds, and the

16   Investors1 (the “Settlement Conferences”) that resulted in the Settlement Agreement presented

17   to this Court on April 7, 2022 in the Motion for Order Approving Settlement of DC Solar Estates

18   and Funds/Investors’ Claims Against Real Property Debtor Estates pursuant to FRBP 9019 [ECF

19   No. 651] (collectively, the “Settlement Motion” on the “Settlement Agreement”).

20          3.      After the filing of the Settlement Motion, counsel for Fund IX contacted the Dora

21   Dog Trustee to determine if it needed to object to the Settlement Motion in order to be included

22   in the distributions from the Real Property Debtor Estates contemplated by the Settlement

23   Agreement.

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26   1
       The Receivership Funds, East West/ADHI Funds and Investors are all defined in the Settlement
27   Agreement attached to the Declaration of W. Donald Gieseke in Support of the Settlement Motion
     [ECF No. 652], The Receivership Funds and the East West/ADHI Funds will be collectively
28   referred to herein as the “Funds.”


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 1           4.      Fund IX is currently neither included in nor a party to the Settlement Agreement.

 2   However, in the DC Solar Estates bankruptcy cases, Fund IX settled with the DC Solar Trustee

 3   for an allowed general unsecured claim under 11 U.S.C. § 502(a) against the DC Solar Estates in

 4   the amount of $36,603,202.13, and an allowed general unsecured claim under 11 U.S.C. § 502(h)

 5   in the amount of $74,460.74. See Order Granting Motion for Order Approving Compromise and

 6   Settlement Agreement with Solar Eclipse Fund IX, LLC and for Award of Contingency Fee [ECF

 7   No. 2793] [ECF No. 2857].

 8           5.      The Dora Dog Trustee and the DC Solar Trustee believe that Fund IX is identically

 9   situated to the Funds which have entered into the Settlement Agreement with the Dora Dog

10   Trustee and the DC Solar Trustee under the Settlement Agreement. The Funds alleged direct

11   claims against the Real Property Debtor Estates for injuries they assert fall distinctly upon the

12   individual participants in the business association or involve the participants’ contractual rights.”2

13   For instance, the Funds alleged that fraudulent inducement claims “are direct because they allege

14   a harm suffered by plaintiff independent of the partnership and a duty to plaintiff that is not merely

15   derivative of [the defendant's] fiduciary duties to the partnership.” See Stephenson v. Citco Grp.

16   Ltd., 700 F. Supp. 2d 599, 610-24 (S.D.N.Y. 2010).

17           6.      The Funds further alleged that investments induced by misrepresentations is a

18   direct claim.3 In the cases of the Real Property Debtor Estates and the DC Solar Estates, there is

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       Grigsby & Assocs. v. Rice Derivative Holdings, L.P., 2001 U.S. Dist. Lexis 16112, at *5
21   (S.D.N.Y. Sep. 21, 2001) (emphasis added); In re Cencom Cable Income Partners, 2000 Del. Ch.
22   Lexis 10, at *3 (Del. Ch. Jan. 27, 2000) (“A direct claim seeks relief for injuries that fall distinctly
     upon the individual participants in the business association or involve the participants’ contractual
23   rights.”).
     3
       See, e.g., In re Smith Barney Transfer Agent Litig., 765 F. Supp. 2d 391, 399 (S.D.N.Y. 2011)
24   (recognizing that investment induced by misrepresentations was direct claim); Anwar v. Fairfield
     Greenwich Ltd., 728 F. Supp. 2d 372, 401 (S.D.N.Y. 2010) (tortious inducement was direct claim);
25   Poptech, L.P. v. Stewardship Inv. Advisors, LLC, 849 F. Supp. 2d 249, 263 (D. Conn. 2012) (non-
26   disclosure in offer and sale of securities was direct claim); see Askenazy v. KPMG LLP, 83 Mass.
     App. Ct. 649, 655, 988 N.E.2d 463, 468 (2013) (recognizing inducement based claims as an injury
27   to those induced and not a harm to the partnership); Albert v. Alex. Brown Mgmt. Servs., Inc., 2005
     Del. Ch. Lexis 133, 2005 WL 2130607, at *12 (Del. Ch. Aug. 26, 2005) (“Generally, non-
28   disclosure claims are direct claims.”).


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 1   no dispute that the Paulette and Jeffrey Carpoff perpetrated an elaborate fraudulent scheme

 2   premised upon inducing investors, through misrepresentations, to invest in their DC Solar

 3   companies. It is undisputed that the Funds were induced by the Carpoffs to invest in the Double

 4   Jump Estate’s DC Solar companies through false misrepresentations—investments they would

 5   not have otherwise made. See Wells Fargo Capital Fin., LLC v. Noble (In re R.E. Loans, LLC),

 6   519 B.R. 499, 513 (Bankr. N.D. Tex. 2014) (“[T]he fact that the bankruptcy estate may have

 7   claims for its own direct injuries that it could have brought as of the commencement of the case

 8   does not mean that the creditor's claims are merely derivative of the debtor’s.”).

 9          7.      Based on the analysis which the Funds provided at the Settlement Conferences, the

10   DC Solar Trustee and the Dora Dog Trustee have agreed to include Fund IX in the Settlement

11   Agreement submitted with the Settlement Motion to share pro rata on account of its general

12   unsecured claim with the other settling Funds.

13          8.      Fund IX filed amended Proofs of Claim in the Real Property Debtor Estates’ cases

14   on April 25, 2022, in the amount of $36,603,202.13, which is the amount of Fund IX’s allowed

15   general unsecured claim under 11 U.S.C. § 502(a) in the DC Solar Estates’ cases. This allowed

16   claim is consistent with the claims allowed for each of the Funds under the Settlement Agreement.

17   Therefore, Fund IX will have an allowed general unsecured claim under the Settlement Agreement

18   in the amount of $36,603,202.13.

19          IT IS SO STIPULATED.

20          DATED this 3rd day of May, 2022.

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